Case 2:12-cv-15382-NGE-LJM
       Case: 13-2603 Document:
                           ECF 006111948368
                               No. 28 filed 01/28/14
                                                Filed: 01/28/2014
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                                          No. 13-2603

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                                                                FILED
P-J COTTER,                                         )                      Jan 28, 2014
                                                    )                  DEBORAH S. HUNT, Clerk
       Plaintiff-Appellant,                         )
                                                    )
v.                                                  )              ORDER
                                                    )
GMAC MORTGAGE, LLC,                                 )
                                                    )
       Defendant-Appellee.                          )
                                                    )
                                                    )


       Before: MOORE and GILMAN, Circuit Judges; GRAHAM, District Judge.*


       This matter is before the court upon consideration of the motion to dismiss the appeal
filed by GMAC Mortgage, LLC (“GMAC”). GMAC argues that the notice of appeal, filed on
November 21, 2013, was not filed within the thirty-day period required by Federal Rule of
Appellate Procedure 4(a) because it was filed more than 100 days after the district court entered
judgment in GMAC’s favor on August 2, 2013. P-J Cotter has filed a response to the motion to
dismiss, but it does not address the timeliness issue.     Rather, Cotter argues that GMAC’s
attorneys are in noncompliance with Federal Rule of Civil Procedure 11 and various Sixth
Circuit Rules.
       The documents before the court indicate that Cotter is a Michigan resident who filed a
civil action against GMAC in the Saint Clair County Circuit Court to halt foreclosure
proceedings on a vacant lot he owns. GMAC removed Cotter’s case to the United States District
Court for the Eastern District of Michigan because Cotter asserted claims under the Fair Debt


       *
        The Honorable James L. Graham, United States District Judge for the Southern District
of Ohio, sitting by designation.
Case 2:12-cv-15382-NGE-LJM
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Collection Practices Act (15 U.S.C. § 1692g), and the Real Estate Settlement Procedures Act (12
U.S.C. § 2605). On June 17, 2013, a magistrate judge entered a report and recommendation to
grant GMAC’s motion to dismiss Cotter’s complaint. The district court adopted the magistrate
judge’s report and recommendation and entered judgment dismissing the complaint on August 2,
2013. Cotter’s time-tolling motion for reconsideration was denied by order entered on August
12, 2013. On August 19, 2013, Cotter filed a “Verified Motion To Stay Any And All Further
Orders, Decrees or Judgments,” which the district court denied by order entered on October 24,
2013. On November 21, 2013, Cotter filed a notice of appeal “from ORDER DENYING AS
MOOT PLAINTIFF’S VERIFIED MOTION TO STAY ANY AND ALL FURTHER ORDERS
DECREES OR JUDGMENTS . . . entered in this action on the 24th day of October, 2013.”
       “[A] court of appeals has jurisdiction only over the areas of a judgment specified in the
notice of appeal as being appealed.” JGR, Inc. v. Thomasville Furniture Indus., Inc., 550 F.3d
529, 532 (6th Cir. 2008). Cotter’s notice of appeal specifically stated that he appeals the
“ORDER DENYING AS MOOT PLAINTIFF’S VERIFIED MOTION TO STAY ANY AND
ALL FURTHER ORDERS DECREES OR JUDGMENTS . . . entered in this action on the 24 th
day of October, 2013.” The district court’s August 2, 2013, judgment dismissing Cotter’s
complaint is not designated anywhere in the notice of appeal. Thus, Cotter filed a limited notice
of appeal, which vests this court with jurisdiction over only the October 24, 2013, order.
       Accordingly, GMAC’s motion to dismiss is denied. Only issues regarding the October
24, 2013, order may be raised on appeal.


                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk
Case 2:12-cv-15382-NGE-LJM
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                           ECF 006111948372
                               No. 28 filed 01/28/14
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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                               Filed: January 28, 2014




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                    Re: Case No. 13-2603, P-J Cotter v. GMAC Mortgage, LLC
                        Originating Case No. : 2:12-cv-15382

Dear Mr. Cotter and Counsel,

  The Court issued the enclosed Order today in this case.

                                               Sincerely yours,

                                               s/Louise Schwarber
                                               Case Manager
                                               Direct Dial No. 513-564-7015

cc: Mr. David J. Weaver

Enclosure
